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                        Case Nos. 23-5795, 23-6108, and 24-5511


             In the United States Court of
             Appeals for the Sixth Circuit
                THE HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                           Plaintiff-Appellee
                                                   v.
                      KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
                   INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
                FOUNDATION, INC.; and UNKNOWN DEFENDANTS (Defendants)
                                                   by
                     COL. DAVID J. WRIGHT, aka KENTUCKY COLONEL,
               Individually and on behalf of all other similarly titled individuals, and
            in his capacity as President of Ecology Crossroads Cooperative Foundation,
                                        Defendant-Appellant

                     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE CIVIL DIVISION
                         DISTRICT COURT ORDERS IN CASE NUMBERS

                              3:20-cv-00132 and 3:23-cv-00043
                     RESPONSES, REPLIES AND OBJECTIONS IN OPPOSITION
                         TO APPELLEE’S MOTIONS - CONSOLIDATED
                                 MOTION TO EXPEDITE APPEAL
                       MOTION FOR LEAVE TO FILE IN FORMA PAUPERIS

                                      Col. David J. Wright
                        Goodwill Ambassador for the Commonwealth of Kentucky
                         302 General Smith Drive | Richmond, Kentucky 40475
                                  Appellant Pro Se in Forma Pauperis

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                     UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                     CASE NOS. 23-5795, 23-6108, and 24-5511


             HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                       Plaintiff-Appellee
                                                 v.
                KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
            INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
                 FOUNDATION, INC.; and UNKNOWN DEFENDANTS
                                           Defendants

                                                By
                COL. DAVID J. WRIGHT, A KENTUCKY COLONEL
             Individually and on behalf of all other similarly titled individuals, and
          in his capacity as President of Ecology Crossroads Cooperative Foundation,
                                     Defendant-Appellant


                   RESPONSE, REPLY, AND OBJECTION IN
                   OPPOSITION TO APPELLEE’S MOTIONS
                             (CONSOLIDATED & COMBINED)
       Comes now, (Col.) David J. Wright     , a Kentucky Colonel ("Colonel Wright" or "Appellant"),

pro se and in forma pauperis, Defendant-Appellant in the matter of [The] Honorable Order of

Kentucky Colonels, Inc.     v. Kentucky Colonels International, et al.    (an unincorporated defunct

membership association 1998-2000). This matter has been admitted to the Sixth Circuit Court of

Appeals as Case Nos. 23-5795, 23-6108, and most recently introducing 24-5511 (pending IFP Petition

with Motion for Leave for the Circuit Court, filed separately today). Appellant seeks to appeal from




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Western Kentucky District Court Cases 3:20-cv-00132 and 3:23-cv-0043. This appeal is made pursuant

to Federal Rules of Appellate Procedure 2, 3, 4, 8, 18, 24, 26, 27, 44, and 48.


       In its motions to dismiss the cases, the Appellee presents inconsequential and immaterial

arguments that lack substantial factual support or legal merit. This conduct is akin to a frivolous game of

charades and musical chairs between the District Court and the Circuit Court, resulting in jurisdictional

overlap and confusion in an attempt to complicate the case and disorient the pro-se defendant-appellant.

Requesting the Circuit Court to refrain from hearing an appeal is tantamount to asking it to abdicate its

duty to serve the public and fulfill its intended purpose.


       The Appellant asserts that the Western Kentucky District Court failed to provide procedural

safeguards guaranteed by the Federal Rules of Civil Procedure, the US Constitution, the Commonwealth

of Kentucky, and more recently the Federal Rules of Appellate Procedure, especially regarding notice

and the opportunity to be heard. The Appellant further asserts the following:


   1. As a whistleblower, researcher, writer, and civil rights advocate, the Appellant asserts that the

       U.S. District Court categorically denied and failed to protect his substantive rights. On May 21,

       2024, the Appellant obtained new evidence showing that the Plaintiff, constructively committed

       fraud (knowingly or unknowingly) in previous cases concerning the Kentucky Colonel           name,

       title, and common-law mark representative with known history.


   2. The proceedings shall show multiple instances of judicial bias, deference favoring the plaintiff,

       procedural missteps, and court errors. These include the denial of due process rights, undue

       deference to the plaintiff's counsel, and judicial actions taken without proper understanding of

       the defendants’ answer or standing. The court denied the Appellant’s requests for summary

       evidentiary hearings without just cause in abeyance so the Plaintiff could relax in 2023, which

       prevented the fair consideration of key evidence which would prevent this case.




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3. Colonel Wright, as a pro se litigant, faced significant challenges due to the complex legal nature

   of the case and the district court's clear bias against him and for the Plaintiff’s counsel. Despite

   these challenges, Colonel Wright has continually sought to protect the integrity of the Kentucky

   Colonel title and to bring the Plaintiff's and their counsel's actions to light.


4. The Appellant has been a Kentucky Colonel since 1996 and has always acted in good faith to

   uphold the honor and traditions of the title. The Plaintiff's actions have undermined the

   foundation of what it means to be a Kentucky Colonel. This case is crucial for preserving that

   heritage, revealing and uncovering 250 years of state history.


5. The Appellant argues that the Plaintiff's use of the trademark 'KENTUCKY COLONELS' is

   deceptive, misleading, and an attempt to monopolize a title that should be freely available to

   those honored with it. This trademark claim overreaches, spoils, creates a deceptive origin, in

   violation of 15 U.S. Code § 1125 - forbidding false designations of origin, false descriptions, and

   dilution, the trademark damages the spirit and intent of the Kentucky Colonel designation.


6. Additionally, the Appellant challenges the court’s decision to disregard and/or dismiss his

   counterclaim type allegations. These counterclaims including a motion for a declaratory

   judgment were based on substantial grounds, including the Plaintiff’s infringement on

   Appellant’s rights and the misrepresentation of the Kentucky Colonel title to the public. As

   counterclaims made by a recognized civil rights advocate and whistleblower, they are admissible

   as probative evidence and evidentiary facts by the Circuit Court.


7. The Appellant has worked to gather and present evidence to the court, only to be met with

   resistance, disregard, slighting, abeyance, dismissals, and strikes. The procedural history of this

   case shows a pattern of disregard for the Appellant’s rights and a preference for the Plaintiff.




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8. The Plaintiff's counsel has a history of engaging in deceptive practices, as known in previous

   cease and desist demands involving the Kentucky Colonel title against a number of corporations,

   individuals, and the Appellant’s cooperative suppliers. The Appellant’s dismissed, previously

   presented evidence in 2020, further exposes these fraudulent actions and questions the integrity,

   knowledge, and values of the Plaintiff's legal representation.


9. The Appellant contends that the court’s refusal to grant an evidentiary hearing was a critical

   error, preventing the proper evaluation of key evidence. This refusal to consider the defendant's

   notions is part of a broader pattern of judicial conduct that has unfairly favored the Plaintiff.


10. The Appellant requests that the appeals court consider the new evidence and the procedural

   irregularities in this case. A fair and impartial review is essential to uphold justice and the true

   spirit of the Kentucky Colonel title.


11. The Appellant has faced significant obstacles in seeking justice and preserving the honor of the

   Kentucky Colonel title. The procedural errors, judicial bias, and the Plaintiff’s fraudulent actions

   must be addressed or highlighted, identified, and set-aside to ensure a fair outcome.


12. The Plaintiff’s attempts to monopolize the Kentucky Colonel title through trademark claims

   distort its historical and cultural significance and infringe on the rights of those honored with this

   designation. The Plaintiff's actions threaten the title's integrity, and it is essential that the court

   takes decisive action to protect it from further misuse. The Appellant’s new evidence shows that

   the Plaintiff has systematically misled the court and the public about the nature of their claims.


13. Appellant’s efforts to protect the Kentucky Colonel title from misuse have faced considerable

   resistance. Despite providing substantial evidence and legal arguments, the court has consistently

   favored the Plaintiff, disregarding the Appellant’s legitimate concerns and rights.




                                              —4—
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14. The denial of due process rights and the failure to consider the Appellant’s evidence constitute a

   grave injustice. The appellate court’s intervention is necessary to rectify these errors and ensure

   that the legal proceedings are fair and just.


15. In light of the new evidence and the procedural errors in the forthcoming Appellate Brief, the

   Appellant will respectfully request that the Sixth Circuit overturn and vacate the lower court's

   decisions, grant an evidentiary hearing for a declaratory judgment, and provide a fair opportunity

   to present the case of the Kentucky Colonel. Justice and fairness demand such an outcome for

   the Kentucky Colonel Commission.


16. The Appellant’s new evidence includes documented materials that clearly show the Plaintiff’s

   fraudulent activities and disconnection with Kentucky Colonels when it was established in 1933

   or 1957, but not 1931. This evidence was not available during the original staging, making its

   consideration crucial for a just resolution of the case starting with the Temporary Restraining

   Order [DE-14] on February 25, 2020.


17. The Appellant asserts a procedural history of admitting this heavyweight SLAPP demonstrates a

   series of judicial decisions that have systematically disadvantaged the Appellant. The

   sophistication of what became a dismissed case was started with a firestarters’ torch. From the

   denial of judicial notice, in the absence of a legal warning, to the rejection of key motions, the

   Appellant’s ability to present a full and fair case has been severely compromised by the sheer

   weight of the Plaintiff’s allegations and the status quo of Louisville society.


18. The Appellant asserts that the lower court’s actions have not only affected the outcome of this

   case but also set a dangerous precedent for future cases involving the Kentucky Colonel title. It

   is imperative that the appellate court address these issues to prevent further injustices.




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   19. The integrity of the Kentucky Colonel title is of utmost importance to the Appellant and the

       broader community, perhaps as many as 500,000 colonels in the United States. The Plaintiff's

       actions threaten this integrity, and it is essential that the court takes decisive action to protect the

       title from further misuse and dilution.


   20. The Appellant asserts that the Court should recognize the significant implications of this case for

       all current and future Kentucky Colonels. The court’s decision will have a lasting impact on the

       preservation and respect of this honorable title.


       The Appellant appreciates the court’s consideration of this appeal and remains hopeful that a

thorough review will lead to a just and equitable resolution. The Kentucky Colonel title must be

preserved as a symbol of honor and goodwill, free from the influence of fraudulent claims and actions.




       The Office of the Kentucky Colonelcy is an Honorable Civilian Office called the Kentucky

Colonel Commission designated in title for life, “Kentucky Colonels are commissioned civil officers of

the state as are public notaries. Chief Justice Bertam Combs (1953) Kentucky Supreme Court.”


       The making of a Kentucky Colonel is one of the few remaining discretionary common-law legal

actions and traditional practices of the Governor of the Commonwealth, registering each commission

legally with the Secretary of State, which records the titles. In essence, the governor claims the

good-deed of an individual through recognition upon nomination and creates a Kentucky Colonel title

which is recorded by the secretary of state. What the commission actually means or represents, and legal

standing of the colonel as a civilian officer or as a militia rank (depending on the document) has been a

subject of political debate, editorial, historical curiosity, fictional literary works, mystery, it raises

questions about titles throughout the 19th century, and even has generated judicial speculation since Lt.

Col. John Bowman of Transylvania was commissioned the First Colonel of Kentucky County on



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December 21, 1776 by the Governor of the Commonwealth of Virginia, Col. Patrick Henry [Jr.] who

served July 6, 1776–June 1, 1779. Col. John Bowman’s commission was to create a civil government.

On January 01, 1777 Colonel John Bowman got to work and began developing a formative government

in Kentucky County headed by colonels he commissioned designated under his authority, and of course

under the authority of Col. George Rogers Clark who was responsible for the entire Northwest Territory

and Kentucky. The Kentucky colonel has been a formative fixture in the Kentucky territory’s history

since 1780 when author John Filson visited Kentucke. John Filson was one of the few people in

American History to have made history as a historian, and to have met Daniel Boone, George Rogers

Clark, and John Bowman, and other colonels made in Kentucky by the three of them.


       The reality of the historical Kentucky Colonel perhaps resides best with Justice John Marshall in

1824 when he merged the idea into the public domain while at a pub in Philadelphia upon being

challenged to illustrate a paradox in the presence of several who were Kentucky colonels when he said,

“In the Bluegrass region a paradox was born, the corn was full of kernels, and the colonels full of corn.”

By 1833, the Kentucky Colonel took to the stage at the Covent Garden in England as Col. Nimrod

Wildfire in a stage play “A Visit to New York” also known as “The Kentuckian.” In 1861, Chief Justice

John Marshall Harlan (at the time Kentucky’s Colonel under President Lincoln) secretly commissioned

1,000 honorable Kentucky colonels in Louisville to wear the Union uniform and keep a civil presence

who were mostly professors, physicians, and attorneys, ultimately to keep Kentucky blue. One of the

people commissioned was 13 1⁄2 year old William O’Connell Bradley, known as a “Kentucky Colonel”

since the war until he became governor in 1895, establishing a new tradition of his own, making the

Kentucky Colonel an official representing Kentucky as a symbol of productivity, prosperity, and

goodwill. The legacy of Governor William O’Connell Bradley civilian colonels continues today.


       These instances of Kentucky Colonels do not reflect or align with Plaintiff’s history, memory, or

narratives. In fact these stories contradict its philanthropic branded 1813 trademark propaganda.



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                                BACKGROUND SUMMARY

       During the third and fourth quarters of 2023 the US District Court for the Western District of

Kentucky concluded that the Defendant, now Appellant, Col. David J. Wright, was to be held

responsible in MEMORANDUM OPINION AND ORDER [DE 129] for contempt on August 09,

2023. Wright shows clearly he was erroneously and mistakenly held responsible for violating an

ORDER establishing a PRELIMINARY INJUNCTION [DE 58] from August 13, 2020 in Case

Number 3:20-cv-00132 which was agreeably dismissed with prejudice on February 23, 2021 as a result

of a CONFIDENTIAL COURT MEDIATED SETTLEMENT held on December 29, 2020. The

mistaken reliance on ideals established by the August 13, 2020 ruling notwithstanding the settlement are

clearly equivalent as evidenced in Mem. Op. & O 129 which mistakenly quotes the August 13th, 2020

“Preliminary Injunction” in place of the post-settlement “Agreed Permanent Injunction” of

February 2021 without the consideration of the equity established in the confidential settlement

conference under the fifth stipulation, a subsequent agreement, or the activities of the Plaintiff in 2021

and 2022. The erroneous, Mem. Op. & O 129 from the US District Court was appealed with the

Appellant’s Notice of Appeal [DE-132] on August 31, 2023 to create Sixth Circuit (6 Cir.) 23-5795.

This case is now presently being delayed, complicated, and compounded by additional appealable

Mem. Op. & O rulings (actions initiated by the Appellee) issued by the U.S. District Court as

recently as April 22, 2024 since the case was officially closed on November 13, 2023.


                                      MERITS AND ISSUES

       Based on this document, the following merits appear to center on several key issues:


       1. Judicial Bias and Errors: There are multiple instances of judicial bias and court errors in the

proceedings, including discretionary denial of due process rights, blind deference to the plaintiff's

counsel, and judicial action without proper knowledge of the defendants.




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       2. Whistleblower Status and Retaliation: Appellant’s status as a whistleblower and civil rights

advocate since prior to the case, Appellant asserts that substantive rights were categorically denied and

unprotected by the U.S. District Court. Appellant claims that the Plaintiff's actions over trademark were

a sham, the goal was filing a retaliatory lawsuit against Appellant’s civil and constitutional rights.


       3. New Evidence of Fraud: Appellant has acquired new evidence obtained on May 21, 2024,

which demonstrates that the Plaintiff, with the same law firm, perpetrated a fraud upon the court in

previous cases related to the Kentucky Colonel title and their trademark.


       4. Procedural Safeguards and Rights to Appeal: Appellant argues procedurally safeguarded

right to appeal and substantive rights were violated, highlighting the need for the Sixth Circuit to address

these procedural and substantive issues..


       5. Recusal and Conflicts of Interest: Appellant details instances where judges recused

themselves from the case early on, with one judge prejudging the merits without adequate knowledge of

the defendants and another judge imposing strict preliminary injunctions. These recusal and conflict of

interest issues are presented as undermining the fairness of the judicial process.


       6. Request for Consolidation and Expedited Appeal: Appellant requests the consolidation of

multiple appeal cases and an expedited appeal process, citing ongoing damage to the Appellant and

numerous appealable issues resulting from the misuse of the Kentucky Colonel title descriptively and

generically leading to additional dilution and with questionable fictional historical revisionism.


       These points collectively form the basis for a compelling appeal, arguing that judicial bias,

procedural errors, new evidence, and conflicts of interest have significantly impacted this case,

warranting appellate review and relief.




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    MOTIONS, RESPONSES, REPLIES, AND OBJECTIONS IN OPPOSITION

       Before it, the Sixth Circuit Court has several pending motions in 23-5795, 23-6108, and 24-5511,

filed by the Appellant seeking affirmative and discretionary relief and several more motions filed by

the Appellee that are attempting to spoil, prejudice, and prevent the Appellant from seeking

justice and filing a Comprehensive A-Z Appellate Brief to have this Court fully examine this

Appellant’s Case under the standard of de novo review to reveal a collection of erroneous mistaken

inequitable missteps, denial of due process, disregard of pro-se motions, and general lack of

consideration for the confidential settlement that have resulted in a grave miscarriage of justice with

implied guilt for unfounded infringement and financial sanctions for a Kentucky Colonel and his

nonprofit organization. The Appellant in his motions has requested the appointment of a special master

and/or the court to designate counsel pro-bono. The Appellant insists this is a civil rights matter

disguised as a trademark infringement case involving a whistleblower; the parties were in agreement

infringement was not at issue and did not occur in 2020/2021 when they signed their settlement

agreement. Since the fifth day following the initiation of this case on February 20, 2020 the Appellant’s

civil rights have been chilled, enjoined, restrained, and tamped-down by the court; where they have

remained under arrest greatly misunderstood by the US District Court.


       Due to the less than ethical norms and standards attempting to be applied by the

Plaintiff-Appellee against the Appellant, opposing counsel’s staunch resistance to acknowledge the

recorded past of his client to negotiate or sustain an amenable resolution with the Appellant, continued

attempts to sequester viable evidence and facts about his client, his continued onslaught of intent to

prejudice, sophisticate, and discredit the Pro-Se Appellant from moving forward on Appeal, and the

District Court’s error in the refusal to consider the Defendant’s ANSWER AND AFFIRMATIVE

DEFENSES [DE-62] presented timely in August of 2020, or review DE-62 prior to reopening the case

in March 2023, the District Court reopening a case with a settlement agreement, voids the terms of



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settlement. Further reopening the case, the entire case has been re-opened. Re-opening this closed case

was an error of the court, the second error of the court was converting the new case allegations into a

contempt hearing that was concurrent with the previously dismissed case. The defiant hubris Plaintiff

and the District Court refusing to acknowledge the equity created in the confidential settlement

conference and subsequent mediator’s agreement, or to acknowledge that collateral estoppel, res

judicata, and stare decisis should have applied to this case in the first place; the Pro-Se Appellant has no

other option but to move the Sixth Circuit to EXPEDITE THIS APPEAL AS A SPECIAL CASE

with the appointment of a special master and an order limiting contact between the Pro-Se

Appellant and counsel for the Appellee at the Wyatt Firm, which has done nothing less than blow a

controversy and plain matter out of proportion by perpetrating fraud upon the District Court and against

the Appellant with a 500+ page strategic lawsuit against public participation (“SLAPP”) twice, once

in 2020, and again in a separate action in 2023, if the law firm had disclosed the fraudulently concealed

fact that the Defendant is one of its previously most-respected members, donors, and volunteers that has

boosted and bolstered their activity years prior to the Plaintiff coming online in 2001. Whereas, in 1998

and again using social media in 2006 the Appellant was there 4 to 9 years earlier. This is actually a

very new or special type of case for this court, whereas there is evidence that demonstrates, implies

and suggests the Plaintiff has violated the False Claims Act, the Trademark Act, the Copyright Act,

and the Volunteer Protection Act of 1997, this case may be novo. There are so many facts that the

Plaintiff had clear knowledge and awareness of, but preferred not to disclose to the district court,

about the civil rights advocate and the settlement conference which would have prevented this second

SLAPP initiated as COMPLAINT [DE-1] 3:23-cv-00043 on January 25, 2023.


       Also now pending before the Court, most recently, the Pro-Se Appellant has initiated a new

Notice of Appeal [DE-151] creating Case: 6 Cir 24-5511 in the same matter to protect the rights of a

contumacious and nihil dicit corporate defendant (a public charity) found in default of 3:20-cv-00132




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on August 13, 2020 because it could not afford to pay for an attorney and could not find pro-bono

representation due to the case being erroneously framed as a trademark matter on the deferred

suggestion of the Appellee. The corporate defendant, Ecology Crossroads Cooperative Foundation, Inc.

and its subsidiary Globcal International were found responsible for contempt on default in District

Court Order [DE-150] on April 22, 2024 (supposedly was its final order) after the case was already

closed for providing the Appellant a publishing platform as his vehicle to exercise his substantive rights

under the US Constitution. The U.S. District Court or the Plaintiff have finished compiling final and

appealable erroneous orders on this case because the actions of the U.S. District Court have not been

stayed.


          The U.S. Circuit Court of Appeals should most likely anticipate additional appealable orders

challenging its jurisdiction, now that the U.S. District Court issued another ORDER [DE-156] striking

the most recent NOTICE OF APPEAL [DE-151] and MOTION TO WAIVE FILING FEES

[DE-152] made by the President (this Appellant) of a nihil dicit corporate defendant in default (that is

a nonprofit charitable organization) and the Plaintiff-Appellee more recently filing a new MOTION TO

COMPEL THE JUDGMENT [DN-157], after the case, was now for the third time within the

jurisdiction of the Sixth Circuit Court of Appeals of the United States since the U.S. District Court

recognized the Defendant’s Right to Appeal with ORDER ON MOTION FOR LEAVE TO APPEAL

IN FORMA PAUPERIS [DE-137] on and that it was in the jurisdiction of the Sixth Circuit Court.


          Therefore, the Appellant herein moves the JUSTICE of this Honorable Court to additionally

vacate every order created by the U.S. DISTRICT COURT since the aforesaid and

MEMORANDUM OPINION AND ORDER [DE-129] on August 9. 2023 since the first NOTICE

OF APPEAL [DE-132] and MOTION FOR LEAVE TO APPEAL IN FORMA PAUPERIS

[DE-133] on August 31, 2023. The Appellant herein moves the court to vacate and preclude the entire

docket of the District Court since District Court [DE-137, September 21, 2023 ORDER Signed by



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Judge Rebecca Grady Jennings on 9/20/2023 GRANTS [DE-133] MOTION FOR LEAVE TO

APPEAL IN FORMA PAUPERIS, USCA-6 (23-5795) (SMJ)] to EXPEDITE THE APPEAL and to

DISMISS and VACATE: Court of Appeals for the Sixth Circuit 6 CIR. CASE NUMBERS 23-6108

AND 24-5511. If this Honorable Court notwithstanding the Appellee can agree, “The relevant part of

this case is focused on its merits is within the scope of what happened in 2023 leading up to the August

9, Memorandum Opinion and Order.” which starts in this appeal 6 Cir. 23-5795.


       If upon CONSOLIDATION rather than VACATE, DISMISS, and/or PRECLUDE

post-September 21, 2023 District Court decisions, 6 Cir 23-6108, and 6 Cir 24-5511; the APPELLANT,

alternatively MOVES this Court to include all additional District Court Orders and Opinions including

the most recent ORDER 156 (copy at Circuit Court as Document 22 in 6 Cir 23-6108 for 6 Cir 24-5511,

striking the NOTICE OF APPEAL and its FEE WAIVER request on June 11, 2024, DEFENDANT’S

ORDER ON MOTION FOR LEAVE TO APPEAL IN FORMA PAUPERIS AND PLAINTIFF’S

ORDER ON MOTION TO STRIKE [DE-156]. This Court can also consolidate all forthcoming

appealable DISTRICT COURT ORDERS for this case, also including one more perhaps for the

Plaintiff MOTION TO COMPEL JUDGMENT [DN-157]. The pending PLAINTIFF MOTION TO

COMPEL in the District Court can be made MOOT if the Circuit Court GRANTS, Appellant’s

MOTION 23-5795, 23-6108, 24-5511 to a GRANT STAY OF JUDGMENTS on all Kentucky

Western District Court Memorandum Opinions and Orders since 3:20-cv-00132 on August 9, 2024

in Memorandum and Opinion Order [DE-129].


       Alternatively, we have three appeals 6 Cir 23-5795, 6 Cir 23-6108, and 6 Cir 24-5511 perhaps

more forthcoming, one after the other are fraught with many more appealable issues and damage to the

Appellant and defendants defaulted upon over the alleged possible misuse of the Honorable Title of

the Kentucky Colonel, the Appellant argues that he needs the equal number of word limitation (13,000

x 3 for 39,000 words) applied as a triple A-Z brief accompanied by its relevant exhibits. This combined



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case and brief should be treated as a special case, a special master should be designated, the Pro-Se

Appellant insists on his proactive civil rights as an advocate of the Kentucky Colonel title since 1996

notwithstanding the Plaintiff-Appellee. This entire case and all this court activity are all within the scope

of the Plaintiff’s retaliation against the Appellant’s civil and constitutional rights in 2020, who is a 28

year member of the Plaintiff’s organization. This case also violates the ethical boundaries of honorary or

regular membership in an organization without bylaws prescribed by the Code of Federal Regulations.


                                        PENDING MOTIONS
        The Appellant understands that the Circuit Court has broad authority to manage its docket and

ensure efficient proceedings. Prior to scheduling, striking or denying motions without prejudice are tools

the Court can use to streamline the Appellate process and focus on the merits of the appeal.


        When a Circuit Court is faced with numerous motions before an appellant submits a brief, it has

several options at its disposal:


 1. Rule on the Motions Individually: The court can address each motion separately, deciding

     whether to grant or deny it based on its merits and the applicable law. This is a common approach

     for motions that raise distinct issues or require separate analysis.

 2. Consolidate Motions: If multiple motions raise similar or related issues, the court may consolidate

     them for a single ruling. This streamlines the proceedings and avoids duplication.

 3. Defer Ruling: In some cases, the court may choose to defer ruling on certain motions until after the

     appellant's brief is filed. This could be done if the motion's outcome might be affected by arguments

     presented in the brief or if the court wants to consider the case as a whole before making a decision

     on specific issues.

 4. Seek Additional Briefing: The court can request additional briefing from the parties on specific

     motions, especially if the initial arguments are unclear or the court needs additional information to

     make an informed decision.


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5. Refer to a Magistrate Judge: In some jurisdictions, the court may refer certain pretrial motions to

    a circuit magistrate judge for a recommendation or ruling. This can help alleviate the burden on the

    Circuit Court judge and expedite the resolution of the motions.

6. Dismiss Motions: If a motion is clearly frivolous, irrelevant, inconsequential, inaccurate,

    mischaracterizes the record, or procedurally untimely; the court can summarily dismiss them

    without further consideration.


       The specific approach taken by the Circuit Court depends on the relevant nature presented by the

motions, the complexity of the issues involved, and the judge's discretion. The goal of the Court must

be to manage the pre-appeal process efficiently and ensure that all relevant issues are addressed

before proceeding to the merits of the appeal and the appellate brief. This case as a consolidated

appeal involves three related appeals from U.S: District Court Case 3:20-cv-00132 which should be

combined under Federal Rule of Appellate Procedure 3(b): this rule allows the court of appeals to

consolidate appeals from separate judgments if they involve a common question of law or fact; 6th

Circuit Rule 3(b): this rule echoes FRAP 3(b) and specifically grants the Sixth Circuit the authority to

consolidate appeal.




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The pending motions and issues before the Court include:

   1) Appellant’s PRE-APPEAL MOTION FOR AFFIRMATIVE RELIEF [Document 17] filed
      on March 11, 2024 to extend time to file brief, to amend case caption, to extend time to pay fee,
      to consolidate for briefing and submission.

   2) Appellee's RESPONSE TO APPELLANT’S MOTION FOR EXTENSION OF TIME TO
      FILE BRIEF [Document 18] filed March 14, 2024 regarding a motion to amend caption,
      regarding a motion to extend time to pay fee, regarding a motion to consolidate for briefing..

   3) Appellee's MOTION TO DISMISS APPEAL [Document 19] filed March 14, 2024 (The
      filing of this motion and pending IFP from the District Court on 23-6108 caused the combined
      cases 23-5795 and 23-6108 to be placed in ABEYANCE, Case Manager)

   4) Appellee’s MOTION TO DISMISS APPEAL [Document 5] filed on May 28, 2024 in Case
      24-5511

   5) Appellant’s MOTION FOR STAY OF JUDGMENTS PENDING APPEAL [Document 21]
      filed on June 10, 2024 in 23-5795, 23-6108, 24-5511 to GRANT stay of district court judgment,
      RESPOND IN OPPOSITION TO (Deny the appellees' motion to dismiss cases 23-5795 and
      23-6108), to consolidate for briefing and submission cases 23-5795, 23-6108, and 24-5511, to
      waive fee for case 23-6108 per the District Court Memorandum Opinion and Order [DE149] and
      include Case 24-5511 based on appellant's Notice of Appeal [DE151] filed on behalf of the
      corporate Defendants that have never appeared in the US District Court and remain
      unrepresented by legal counsel, To establish a new scheduling order to permit the Appellant to
      timely file and submit a consolidated A-Z brief in the consolidated appeal, to resume case and
      remove it from abeyance status.

   6) Appellee’s RESPONSE TO APPELLANT’S MOTION FOR STAY OF JUDGMENTS
      PENDING APPEAL [Document 23] filed June 12, 2024 regarding a motion for STAY;,
      regarding a motion to consolidate for briefing, regarding a motion to waive fee, regarding a
      motion resume case, in 23-5795 and 23-6108.

   7) Appellant’s MOTION FOR LEAVE TO PROCEED ON APPEAL IN FORMA PAUPERIS
      [Document ___] filed on June 20, 2024 in Case 24-5511 regarding payment of the Circuit Court
      Filing Fee for NOTICE OF APPEAL [DE-151] and MOTION TO WAIVE FILING FEES
      [DE-152] stricken by the District Court on Memorandum Opinion and Order [DE-149] and
      Default Judgment ORDER [DE-150].

   8) Appellant's (CONSOLIDATED) RESPONSE, REPLY, AND OBJECTION IN
      OPPOSITION TO APPELLEE’S MOTIONS w/ MOTION TO EXPEDITE [Document
      ___] filed on June 20, 2024 in Cases 23-5795, 23-6108 and 24-5511 [This Document]




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  ARGUMENT OPPOSING RESPONSES AND REPLIES OF APPELLEE

This “Response and Objection in Opposition to Appellee’s Motions to Dismiss” applies to two

dismissal motions filed by the Appellee who since this case began has targeted the procedural and due

process civil and constitutional rights of this Appellant which as of today retains his most of his rights

before this Honorable Court. This motion seeks the Circuit Court to categorically deny with prejudice

the Appellee’s Motions to Dismiss in cases 23-5795 [Document 19] and 23-6108 [Document 18]

(same motion and case) in the combined appeal filed on March 14, 2024 and Appellee’s Motion to

Dismiss Appeal in 24-5511 [Document 5] filed on May 28, 2024. Both of these sophisticated dismissal

motions seek to deprive the Appellant of his procedurally safeguarded right to appeal and his substantive

rights under the liberty of U.S. Constitution and the U.S Code as a civil rights advocate, a volunteer, and

as a whistleblower which were categorically denied and never protected by the U.S District Court.


       The Appellant cites numerous errors he has identified in the U.S. District Court proceeding since

the case began on February 20, 2020; he makes a clear, compelling, evidentiary, and prima facie

claim of error with judicial bias, discretionary denial of due process rights, and blind deference

for the Plaintiff represented by the Wyatt Firm in the more recent contempt hearing against him that

began in January 2023. The Appellant became a whistleblower in 2019 who has been and is a donor,

member and volunteer of the Plaintiff’s organization for the previous 23 years who had also created and

developed the first website for real Kentucky Colonels online in 1998, four years prior to the Plaintiff

appearing online for the very first time.


       As of May 21, 2024 the Appellant acquired new evidence, a handbook published in 1930 which

substantially proves that the Plaintiff with the same law firm has perpetrated a fraud upon the court

(knowingly or unknowingly) in The Honorable Order of Kentucky Colonels, Inc v. Building Champions,

LLC, 3:04-cv-00465, (W.D. Ky. 2004) and subsequently in both cases brought against him The

Honorable Order of Kentucky Colonels, Inc. v. Kentucky Colonels International, 3:20-cv-00132, (W.D.


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Ky 2020.) and The Honorable Order of Kentucky Colonels, Inc. v. Globcal International,

3:23-cv-00043, (W.D. Ky 2023).


                                      PROCEED TO APPEAL

       Some of the things that will make this Appeal particularly interesting for the Sixth Circuit is the

fact that two judges recused themselves early in the case during the first two weeks, one of them cited

the Plaintiff was likely to succeed on the merits of the case just five days after it was filed without

knowing anything at all about the Defendants in his prejudgment imposition of a TRO, the same judge

held a preliminary injunction hearing 9 days later which the Defendant(s) could not attend (or find a

lawyer that could intervene) even by Zoom at the time, the Appellant was living in Venezuela, the judge

held the hearing and placed the case under the advice of the court, before recusing himself without

stating the reason being that he was a member of the Plaintiff’s organization (a Kentucky Colonel), then

passing the case to another judge appointed by then President Donald Trump (another member of the

Plaintiff’s organization) which imposed a strict non-statutory preliminary injunction and defaulted on

the corporate defendant(s) five months later during the COVID lockdown. The default of the corporate

defendant opened the door for the remaining defendant (this ‘appellant’) to finally file his answer and

affirmative defenses notwithstanding the corporate defendant(s) in default, however the answer and

affirmative defenses filed were never heard, because the case was being swept under the rug, transferred

over to the magistrate court and destined for a confidential settlement conference less than five months

later during the Christmas holiday.


       The defendant (now appellant) followed all the instructions given by the magistrate judge as the

mediator prior to the confidential settlement conference, providing all of the details acceptable for a

settlement in writing in good-faith to settle the matter equitably with the plaintiff after 10 months of

litigation and a number of slighted motions that were not or ever considered by the court which had

forced the plaintiff to settle or face a declaratory judgment which would have canceled their trademarks


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based on the defendant (‘appellant’) discovering they were all fraudulently applied for (particularly the

newest ones applied for 3 days prior to filing the case”) omitting all previous and current uses of the

“KENTUCKY COLONELS” mark including the alleged use by the defendant. Simultaneously the

Defendant had filed a letter of protest and was beginning an opposition proceeding with the United

States Patent and Trademark Office (“USPTO”).


                          HONORABLE PRO-SE APPELLANT

       On this day, Colonel Wright, as the Appellant, humbly appears before the esteemed Sixth Circuit

Court of Appeals as an intermediate legal practitioner. Despite his status as a novice of the legal

profession, he possesses a high level of intelligence and comprehensive abilities having majored in

philosophy, currently serving as a professional goodwill ambassador representing community-based

objectives in the United States and South America on behalf of fourth-world Indigenous nations and

marginalized peoples. Colonel Wright had the honor of being commissioned as a Kentucky Colonel in

1996 by Governor Paul E. Patton, a distinction that he has held for 28 years. Since the 19th century, the

Kentucky Colonel Commission has been the highest form of recognition and honor bestowed upon

civilians for their accomplishments, deeds, and valor in the Commonwealth of Kentucky. He earned this

distinction for bringing attention to Kentucky and Pennsylvania when he distributed millions of trees to

regional disaster zones and community urban forestry efforts.


       In the present matter, Colonel Wright, an individual appellant, has faced accusations and

unfavorable consequences stemming from actions undertaken by the Appellee for more than

twenty-three years. These allegations revolve around the promotion of his esteemed title as an

Honorable Kentucky Colonel and as a member of the Plaintiff’s organization. The Honorable Order of

Kentucky Colonels, Inc. has asserted intellectual property infringement claims against Colonel Wright

since 2001, contending that his actions infringe upon its registered trademarks and fictitious deceptive

origins, contrary to judicially noticeable historical fact from the Library of Congress. In February 2020,


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the Appellee initiated a strategic lawsuit against public participation, targeting Colonel Wright,

unidentified parties, and three corporate entities named in the primary litigation. Regrettably, the case

proceeded unethically while the Appellant’s civil rights were being most heavily restrained for ten

months, concluding in a confidential court-mediated settlement conference. This conference resulted in

an erroneous non-statutory agreed permanent injunction and the dismissal of the case with prejudice,

fashioned around a preliminary injunction that was modified with a special stipulation to exclude the

title and term “Kentucky Colonel,” “Kentucky colonelcy,” and “Kentucky colonels” to guarantee the

appellant exclusive limited rights in order to make it an equitable remedy, notwithstanding the

Defendant’s Constitutional Rights which the District Court cannot restrict. The settlement conference

took place approximately 45 days after the pro-se defendant’s wife of 20 years died near the end of the

COVID pandemic, the magistrate was made aware of the Defendant’s wife passing away less than 60

days earlier.


   HOKC, INC. (KENTUCKY COLONELS) v. KENTUCKY COLONEL CO-OP
                                 6 CIR 23-5795, 23-6108 & 24-5511

        Several areas of law and constitutional provisions are relevant in this combined case, depending

on the specific details and circumstances in which it is perceived:


First Amendment: This guarantees freedom of speech, press, assembly, and petition. It protects the

right to express opinions, publish information, and criticize the government.


Fourteenth Amendment: This guarantees due process and equal protection under the law. It is relevant

when rights are violated by state action or in the face of discrimination.


Defamation Laws: These laws protect individuals from false statements that harm their reputation. A

public figure must prove actual malice (knowledge of falsity or reckless disregard for the truth) to

succeed in a defamation claim.



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Privacy Laws: These laws protect individuals from unwanted intrusions into their personal lives. As a

public figure, when a person becomes a Kentucky Colonel the right to privacy becomes generally more

limited than that of a private citizen.


Copyright Law: A person that creates original works, upon publication the US Copyright Act protects

their right to control how those works are used or in what context.


Lanham Act: This law prohibits false advertising and unfair competition. This is relevant if someone

uses a name or likeness in a way that is misleading or harmful to reputations or creates a false

designation of origin, false description, and dilutes an unregistrable mark.


Right of Publicity: Many states have laws that protect individuals from the unauthorized use of their

name, likeness, or other aspects of their identity for commercial purposes. Public figures that use their

rights, have a greater right of publicity.


Anti-SLAPP Laws: Kentucky has laws that protect against Strategic Lawsuits Against Public

Participation (SLAPP), which are lawsuits designed to silence or intimidate critics, by silencing them or

chilling their substantive civil and First Amendment Rights.


Public Figure Status: Status as a public figure has a significant impact on legal rights. Public figures

have a higher burden of proof in defamation cases and have less privacy protection.


Specific Facts: The specific laws and legal arguments that apply to this case will depend on the

contextual details presented in the Appellate Brief, such as the nature of the statements made during the

case, the context in which they were made, the negotiations that occurred during the settlement

conference, the actions taken by the court and the specific harms suffered by the parties including the

“unknown defendants” particularly the contumacious nihil dicit corporate defendant found in

contempt without ever appearing, speaking, acted, or being afforded counsel by the court.




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       CONSOLIDATING MOTION FOR LEAVE: TO FILE IN FORMA
 PAUPERIS IN 24-5511, TO CONSOLIDATE RELATED APPEALS 23-5795,
                                23-6108, and 24-5511 PER 10-1

       Appellant, Wright, moves the Court to consolidate and combine the three above-captioned

appeals, which arise from the same district court case and involve related issues. Three appeals, one

issue, one case. No definitive briefing and litigation schedule has been issued in 6 CIR 24-5511, case

numbers 6 CIR 23-5795 and 23-6108 are in ABEYANCE per the Circuit Court Clerk, no briefs have

yet been filed, and the Appellant respectfully asked that a single briefing and argument schedule govern

the matter as consolidated. The Circuit Court generally grants the motion to consolidate the cases under

5 CFR § 1201.36 - Consolidating and joining appeals.


       The Appellant contends that he is within his rights to Appeal the District Court’s decision and

refusal to grant Wright, “A STAY OF JUDGMENTS”; Wright also contends that it is outside of the

scope and jurisdiction of the District Court to retroactively strike, delay, or deny a Defendant his right to

appeal a matter tendered to the U.S Circuit Court through it or once the NOTICE OF APPEAL has

been filed. While the District Court should have concurred with its previous ORDERS to GRANT IFP;

instead it has Stricken NOTICE OF APPEAL [DE-151] and MOTION TO WAIVE FILING FEES

[DE-152], but these filings do not end there for the District Court for it created another appealable order.

The Appellant argues that as the Executive Officer and President of a charitable organization in financial

distress, under an inevitable Administrative Dissolution deadline of June 30, 2024 by the Kentucky

Secretary of State and recognized by the District Court as a competent pro-se defendant that he is legally

entitled to submit the both of the documents on his own behalf and on the behalf of the corporation,

where if necessary legal counsel can or may and should be designated by the Court.




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                                     PRAYER FOR RELIEF

       WHEREFORE, for the reasons stated above, Appellant, Colonel Wright, respectfully requests

this Court to grant the affirmative relief requested in previous motions and continue this case providing

him a new deadline considering 6 CIR 24-5511 and schedule a new due date for his triple A-Z Appellate

Brief withstanding the consideration of this instant motion.


       The Appellant humbly prays the Court will understand the Appellant as a pro se in forma

pauperis litigant, ensuring equal access to justice and a fair opportunity to present his case within the

scope and limitations of his rights. The Appellant is a whistleblower with detailed and specific insider

knowledge of the Appellee’s operations after having donated and working as a volunteer and serving as

an honorary member since 1997 for the Plaintiff, and having suffered from a retaliatory assault on right

guaranteed to him by the Commonwealth of Kentucky. Additionally, it is the Prayer of the Appellant

that the Court grant any other relief deemed appropriate, just and equitable.


Puerto Carreño, Colombia
Dated: June 20, 2024




                                                           Col. David J. Wright
                                                           Kentucky Colonel
                                                           david.wright@colonels.net
                                                           +1 (859) 379-8277




Postscript: This document is a comprehensive electronic motion, reply, and response developed by a
pro se appellant to address five prejudicial documents filed by the appellee. The combined document
consists of seven thousand and fifty-eight words.

Attached: Certificate of Service and Certificate of e-Filing Compliance




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                     UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                                    CASE NO. 24-5511


             HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                       Plaintiff-Appellee
                                                v.
               KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
            INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
                 FOUNDATION, INC.; and UNKNOWN DEFENDANTS
                                           Defendants

                COL. DAVID J. WRIGHT, A KENTUCKY COLONEL
             Individually and on behalf of all other similarly titled individuals, and
          in his capacity as President of Ecology Crossroads Cooperative Foundation,
                                      Defendant-Appellant


MOTION FOR LEAVE TO PROCEED ON APPEAL IN FORMA PAUPERIS
       AND REQUEST FOR COURT-APPOINTED COUNSEL
       Comes now, (Col.) David J. Wright, a Kentucky Colonel, (“Colonel Wright”) or

(“Appellant”) ot (“Wright”), a pro se in forma pauperis defendant-appellant in the matter:

[The] Honorable Order of Kentucky Colonels, Inc. v. Kentucky Colonels International (an

unincorporated defunct membership association), et al. admitted as Sixth Circuit Court of

Appeals Case Nos. 23-5795 and 23-6108, and now most recently 24-5511 in this Motion for

Leave to be recognized IFP by the Sixth Circuit Court to present appeals from Western

Kentucky District Court Cases 3:20-cv-00132 and 3:23-cv-0043 pursuant to Federal Rules of

Appellate Procedure, Rules 2, 3, 4, 8, 18, 24, 26, 27, 44 and 48.


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      Col. David Wright, makes this appearance as the Appellant, “Individually and on behalf

of all other similarly titled individuals, and in his capacity as President of Ecology Crossroads

Cooperative Foundation, to present his APPELLANT MOTION FOR LEAVE TO PROCEED

IN FORMA PAUPERIS AND REQUEST FOR COURT-APPOINTED COUNSEL.


                                    I. INTRODUCTION

Defendant-Appellant David J. Wright, individually and in his capacity as President of Ecology

Crossroads Cooperative Foundation, Inc, respectfully moves this Court for leave to proceed in

forma pauperis and discretionary appointment of pro bono counsel to protect his civil rights.


                                     II. BACKGROUND

      The Corporate Defendants, including ECCF, are in severe financial distress. ECCF is

unable to file its annual report and will be administratively dissolved by the Commonwealth of

Kentucky on June 30, 2024. The organization has had a balance of less than $250 in its bank

account since January. Globcal International, a cooperative body and publishing platform owned

by ECCF, remains functional but is not a consensual party to this action. The Appellant and

other individual members of the Globcal International cooperative are not actively engaged in

any infringement actions, and the District Court has not properly enjoined these parties, apart

from the Appellant.


      The Corporate Defendant, Globcal International, a subsidiary international cooperative

of Ecology Crossroads Cooperative Foundation are appealing from the orders and judgments

of 3:20-cv-00132 WD. of Kentucky of the United States District Court as nihil dicit in default

since August 13, 2020, the party has nothing to say in this case, except that it objects. This




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motion is necessitated by the financial distress of both the individual Appellant and the

corporate Defendant-Appellant as its current principal officer for the United States.


       Due to severe financial distress, facing dissolution, caused by this case, the Nonprofit

Corporate Defendants are unable to afford the filing fees or retain counsel or pay the judgment.

This motion is submitted to demonstrate the financial incapacity of the Nonprofit Defendants

and to request the assistance of appointed counsel, their removal from the case, or to ensure the

fair administration of justice with a stay of the judgment. The organization will not be appearing

in court without counsel, however it wishes demonstrably, to retain its rights.


                      III. AFFIDAVIT OF FINANCIAL DISTRESS

I, David J. Wright, hereby declare under penalty of perjury that the following statements are true

and correct to the best of my knowledge and belief:


   1. I am the President and Executive Director of Ecology Crossroads Cooperative

       Foundation, Inc., and I am filing this affidavit in support of the motion to proceed as the

       Appellant in forma pauperis, representing a nihil dicit corporate defendant.

   2. The Nonprofit Defendant(s) has no significant assets or income. They are currently

       unable to meet basic operational expenses, let alone legal fees estimated at $30K.

   3. The Cooperative Defendants have exhausted all available financial resources and have no

       means to pay the filing fees required for this appeal.

   4. Attached as Exhibit A is a detailed financial statement of the Corporate Defendants,

       showing our current financial situation.

   5. The Defendant-Appellant’s income and assets have not grown, the Appellant earns under

       $11,000 USD per year as a subcontractor and website developer.


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                 IV. REQUEST FOR COURT-APPOINTED COUNSEL

In light of the financial distress detailed above, the Nonprofit Corporate Defendants respectfully

request that this Court appoint pro bono counsel to represent the organization in this appeal. The

appointment of counsel is necessary to ensure that our legal rights are adequately represented

and that we have a fair opportunity to present our objections. The organization has no financial

resources or liquidable property or intangible assets.


                                       V. ARGUMENTS

A. Jurisdiction and Authority over Notices of Appeal

   1. District Court’s Limited Authority: While the District Court notes corporate

       defendants lack of counsel in the Plaintiff’s Motion to Strike a Notice of Appeal, the

       ultimate authority to strike or dismiss an appeal rests with the Court of Appeals, because

       it is not a function of the District Court to apply jurisprudence when an appeal action is

       initiated against it. According to Griggs v. Provident Consumer Discount Co., 459 U.S.

       56 (1982)     “the filing of a Notice of Appeal transfers jurisdiction from the District

       Court to the Court of Appeals.” Thus, any determination regarding the propriety of the

       Notice of Appeal should be made by the appellate court.


   2. Procedural Deficiencies and Due Process: Even if there were procedural issues with the

       Notice of Appeal, such as filing by a non-attorney on behalf of a corporation, these

       matters are appropriately addressed by the Court of Appeals. The district court's role is to

       identify and record any issues, but it is not within its jurisdiction to strike the Notice of

       Appeal. Hamer v. Neighborhood Housing Services of Chicago, 138 S. Ct. 13 (2017)             ,




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       underscores the importance of allowing the appellate court to make determinations

       regarding appeal deadlines and procedural compliance.


B. Right to Appeal and Fair Administration of Justice

       Disposing of an appeal without allowing the Court of Appeals to review the substantive

claims would cause aggregated manifest injustice. Colonel Wright's right to appeal, particularly

in his individual capacity, standing as the Executive Director, Founder, and President of a

501(c)(3) nonprofit corporate defendant(s) is legitimate; as the only defendant appearing in the

case, must be respected to ensure due process. Any procedural misstep regarding corporate

representation should be remedied before the appropriate judicial guidance and competent

jurisdiction rather than dismissed or disregarded by a lower court or challenged by a Plaintiff

therein. It should be reflected that the corporate nonprofit defendants did not appear in court,

they never said anything is court because the court did not recognize them there, they need not

be included in the appeal with any voice, but should be noted as nihil dicit appellants without

legal representation that have been sanctioned.


       The Plaintiffs cases 3:20-cv-00132 [DE-1] and 3:23-cv-00043 [DE-1] both use

fraudulent and misrepresented evidence, were both presented as sophisticated strategic lawsuits

against public participation; and all of its 2023 motions in the District Court and its motions and

responses before the Sixth Circuit were all designed to restrain and injunct the civil rights of the

Appellant as an individual and as the President of Ecology Crossroads Cooperative Foundation,

Inc. and its subsidiary Globcal International. Demonstrating falsely held assumptions,

unsustainable beliefs, misunderstanding, and reckless acknowledgements by the U.S. District

Court about what a Kentucky Colonel actually is or the Plaintiff’s legal role.


                                              —5—
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C. Can the District Court sanction for contempt “financially distressed insolvent
contumacious nihil dicit unrepresented defendants (nonprofit corporations) in default”
after 4 years that were never legally represented and have never legally appeared in court?
Or deny their right to appeal such a default action, with or without counsel?

       During the process of identifying cases in which a United States Court of Appeals has

assigned legal counsel to an indigent corporate defendant, notably a civil rights organization, a

number of pertinent principles and relevant case law have been identified. The right to appeal

resides in the rights of the organization’s principal officer as do other corporate principles that

are not represented by counsel; that officer is this Appellant. Under all circumstances this

Appeal should move forward, with or without counsel says the Pro-Se Appellant.


Right to Counsel: The Sixth Amendment to the U.S. Constitution guarantees the right to

counsel in criminal cases. While this right doesn't automatically extend to civil cases, courts

have recognized that in some circumstances, due process may require appointment of counsel in

civil matters, especially if the case involves fundamental rights or liberties.


Indigent Status: Courts may appoint counsel to indigent individuals or financially

insolvent.organizations who/that cannot afford to hire counsel.


Discretion of the Court: The decision to appoint counsel in a civil case is ultimately within the

discretion of the Circuit Court. Courts consider various factors, such as the complexity of the

case, the ability of the litigant to represent themselves, and the potential impact on the litigant's

rights. Respectfully request the court to deny the Appellee's Motion for Dismissal based on the

prejudicial grounds of the Appellant's lack of legal counsel due to its financial insolvency as a

non-profit organization. The Appellant is the executive official of a nihil dicit Defendant in



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default during a period when it maintained good standing with the Secretary of State's Corporate

Register, the organization has no other voice than that of the Appellant.


In Lassiter v. Department of Social Services, 452 U.S. 18 (1981):           The Supreme Court held

that due process does not always require appointment of counsel in civil cases, but the court

must consider the specific circumstances of each case, including the complexity of the issues

and the litigant's ability to represent themselves.


In Bounds v. Smith, 430 U.S. 817 (1977):          The Supreme Court held that prisoners have a

constitutional right to access the courts, which may include the right to legal assistance in certain

circumstances.


In Sears, Roebuck & Co. v. Charles W. Sears Real Estate, Inc. (2nd Cir. 1989):            While not

directly on point, this case illustrates how a court might consider the financial resources of a

corporate defendant when deciding whether to appoint counsel.


   ● Civil Rights Cases: Courts have appointed counsel in civil rights cases involving

       indigent individuals or organizations, recognizing the importance of protecting

       fundamental rights.


   ● Pro Bono Representation: Many attorneys and law firms offer pro bono (free) legal

       services to individuals and organizations in need. Acquiring counsel often comes based

       on the court's cognitive suggestion and in its descriptive framing of a case.


   ● Importance of the Issues: This case involves important constitutional or civil rights

       issues that warrant the appointment of counsel to ensure a fair and just resolution.




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   ● Emphasis the Complexity of the Case: This case involves distinguishing civil rights,

       constitutional rights, and a corporation’s right under trademark law which is complex and

       requires the expertise of a pro-bono attorney specializing in civil and human rights.


                                       VI. CONCLUSION

       For the reasons stated above, Wright humbly and respectfully requests that this Court

DENY Appellee’s Motions to Dismiss the Appeals, DENY other mediate Motions of the

Appellee against the Appellant’s indigent pauper status as discriminatory. Likewise, Wright

PRAYS that this Court provide guidance on: 1) how to proceed; 2) to specify a schedule for

the combined appeal, 3) provide the Appellant with extended word limits for his initial

consolidated brief on these three appeals; 4) allow the Appellant to represent himself in

this Appeal and as the Executive Officer of the nihil dicit defendants. This is to ensure that

the substantive legal issues are addressed in a manner consistent with due process and

administration of justice.


       For the reasons stated above, the Appellant as its President and Executive Officer of the

paralyzed, financially insolvent organization(s) that have practically suspended their operations

and social media exposures, respectfully request that this Court GRANT leave to proceed in

forma pauperis as “Appellants nihil dicit (without counsel) in default” or appoint pro bono

counsel to protect their rights in this appeal in 6 Cir. 24-5511.


       In further consideration it should be noted that the most recent Order to Proceed in

Forma Pauperis issued by the District Court was on April 22, 2024 for 6 Cir. 23-6108 should

be applied to 6 Cir. 24-5511, in light of Appellant’s indigence and hardship living on less than

$1,000 USD per month he cannot afford to pay the filing fee for 6 Cir. 24-5511; filing fees were


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waived for 6 Cir. 23-5795 and 6 Cir. 22-6108, they should be WAIVED for 6 Cir. 24-5511 and

this case should be combined to include the other Defendants (in name only) without counsel in

default as they were in District Court, to let the case proceed on its merits and the Combined

A-Z Appellate Brief be filed.


Puerto Carreño, Colombia
Dated: June 20, 2024




                                                          Col. David J. Wright
                                                          Kentucky Colonel
                                                          david.wright@colonels.net
                                                          +1 (859) 379-8277




Postscript: This document serves as a formal request for permission to file in forma pauperis. It was
drafted by a pro se appellant to address prejudicial motions, allegations, and responses filed by the
Appellee. The combined document comprises a total of two thousand and ninety-six words.

Attached: Certificate of Service & Certificate of e-Filing Compliance




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Exhibit A

Financial Status of Ecology Crossroads Cooperative Foundation, Inc. and
Globcal International, a subsidiary organization.

To: Court Clerk of the Sixth Circuit,

I am writing to provide a detailed statement regarding the current financial status of Ecology
Crossroads Cooperative Foundation and Globcal International, a subsidiary organization. As the
Treasurer, I oversee all financial transactions and maintain accurate records of the organization's
finances. Each year I am responsible for filing the annual report and filing the 990-N Form with the
Internal Revenue Service under Employer Identification and Tax Exemption Number XX-XXXXXXX.

For the fiscal year of July 01, 2023 thru June 30, 2024, as of June 15, 2024, the financial status of
Ecology Crossroads Cooperative Foundation and its subsidiary is as follows:

   1. Current Bank Balance: The organization has a total of $234.00 in its bank account.
   2. Donations and Funding: The organizations have not received any donations or adequate
       funding during this period, the organization is financially insolvent. There are no incoming
       funds or grants anticipated now or in the near future.
   3. Outstanding Debts: The organization borrowed $3,000 during the COVID pandemic
       co-signed to David Wright. No payments have been made on that debt.

The above information accurately reflects the financial status of Ecology Crossroads Cooperative
Foundation and Globcal International, as of the date mentioned. The organization is currently
operating without external funding or donations and relies solely on the existing bank balances and
direct selected member support to cover current operational expenses.

Sincerely,
/s/ Nicholas A. Wright
Col. Nicholas A. Wright, Treasurer
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NOTICE OF COMPLIANCE WITH ELECTRONIC FILING REQUIREMENTS

Appellant, Col. David J. Wright, individually and as President of Ecology Crossroads
Cooperative Foundation, Inc., hereby submits this Notice of Compliance to confirm that all
briefs, pleadings, responses, and motions filed electronically in this matter by him comply with
the following standard guidelines:

   ➔ Electronic Format: All documents are submitted in PDF format, compliant with the
      Sixth Circuit's Electronic Filing Rules and the Public Access to Court Electronic Records
      (PACER) system. Documents cited here are publicly accessible on RECAP.

   ➔ Hyperlinks: All citations to case law, statutes, regulations, or other legal authorities are
      hyperlinked to the relevant source within the electronic document, using the ECF/PACER
      system's linking capabilities. The external link sign      symbolizes links to exhibits and
      citations that are to non-governmental top-level domain servers.

   ➔ Bookmark Links: The e-Brief and e-Motions are often bookmarked within the same
      document to facilitate navigation and reference to specific sections and arguments.

   ➔ Accessibility: The e-Briefs, e-Motions, e-Memorandums, and in general e-Filings are
      prepared with accessibility in mind, ensuring that they are compatible with assistive
      technologies for users with disabilities.

   ➔ Additional Requirements: The Appellant has made a good faith effort to comply with
      all other electronic filing requirements set forth in the Sixth Circuit's Local Rules and the
      PACER User Manual.

Certification

I, Col. David J. Wright, hereby certify that the electronic documents e-Brief, e-Response,
e-Reply, or e-Motions submitted in this matter comply with the electronic filing requirements of
the United States Court of Appeals. /s/ David J. Wright, david.wright@colonels.net
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                                     Certificate of Service

I hereby certify that on June 20, 2024, I emailed for filing the foregoing appellant motions,
responses, replies, objections, and7or pleadings with attachments to the Clerk of the Court for
the United States Sixth Circuit Court of Appeals using the special Pro Se Intake Email
 CA06_Pro_Se_Efiling@ca6.uscourts.gov for entry by the Court Clerk in the CM/ECF system.
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system once the Circuit Court Clerk files the document(s)
without prejudice to the Appellee.

Kelly L. Stephens, Clerk
Sixth Circuit Court of Appeals
501 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202-3988
